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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                     CRIMINAL MINUTES - GENERAL
Ca:se No:         CR 96-309-ER:                                 Date: December 16, 1996
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PRESENT:          HONORABLE EDWARD RAFEEDIE, JUDGE
                JUDY MATTHEWS                       John Turman               Stephen Larson
               Deputy Clerk                        Court Reporter             Asst. U. S. Attorney
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U.S.A. vs (Dfts listed below)                                   Attorneys for Defendants
1)           Anatoly Valushkin                                  1)     David R. Reed, Aootd.

X     pres            custody     X         bond                      pres    X   apptd            retnd

PROCEEDINGS:                  SENTENCING: Plea Guilty Count 2
IT IS HEREBY ORDERED that the sentencing in the above cause of action is
continued from Monday, December 16 1996 at 1:30 pm. to Thursday, January 9,
1997 at 4:30 pm. IT IS FURTHER ORDERED that the Probation Office assigned
to this case respond to defendant's position papers.

cc: Counsel of Record
    Kent R. Costley, USPO

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MINUTES FORM 6
CRIM - GEN                                                      Initials of Deputy Clerk
